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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                        No. 14-186V
                                   Filed: October 29, 2014

*************************                                    UNPUBLISHED
JANA WILKES, on behalf of          *
D.N.T., a minor child,             *
                                   *                         Special Master Hamilton-Fieldman
                       Petitioner, *
                                   *                         Petitioner’s Motion for Dismissal
v.                                 *                         Decision; Insufficient Proof of
                                   *                         Causation; Vaccine Act Entitlement;
SECRETARY OF HEALTH                *                         Human Papillomavirus (“HPV”)
AND HUMAN SERVICES,                *                         Vaccine; Unspecified Injury.
                                   *
                       Respondent. *
                                   *
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Danielle Anne Strait, Maglio Christopher and Toale, P.A., Washington, D.C., for Petitioner.
Ann Donohue Martin, United States Department of Justice, Washington, DC, for Respondent.

                                          DECISION 1

        On March 5, 2014, Jana Wilkes (“Petitioner”) filed a petition for compensation on behalf
of her minor child, D.N.T., under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C.
§§ 300aa-1 et seq. (2006) (“Vaccine Act”). Petitioner alleges that D.N.T. suffered from an
adverse reaction to a human papillomavirus (“HPV”) vaccine she received on March 4, 2011.
Petition (“Pet”) at 1-2. The undersigned now finds that the information in the record does not
show entitlement to an award under the Program.

        On October 29, 2014, Petitioner filed a Motion for a Dismissal Decision (“Motion”). In
her Motion, Petitioner indicates that “[a]n investigation of the evidence of her case demonstrated
to Petitioner that she will be unable to prove entitlement to compensation under the standards of
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 Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be deleted from public access.
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the National Vaccine Injury Compensation Program.” Motion at 1. Petitioner further states that
she understands that a dismissal of her petition will result in a judgment against her regarding
D.N.T.’s injury, and that such a judgment will end all of her rights in the Program. Id.

        To receive compensation under the Vaccine Act, Petitioner must prove either 1) that
D.N.T. suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –
corresponding to one of her vaccinations, or 2) that she suffered an injury that was actually
caused by a vaccine. See §§ 300aa-13(a)(1)(A) and 300aa-11(c)(1). An examination of the
record did not uncover any evidence that D.N.T. suffered a “Table Injury.” Further, the record
does not contain a medical expert’s opinion or any other persuasive evidence indicating that her
injuries were caused by a vaccination.

        Under the Vaccine Act, a petitioner may not be awarded compensation based solely on
the petitioner’s claims alone. Rather, the petition must be supported by either medical records or
by the opinion of a competent physician. § 300aa-13(a)(1). In this case, the medical records are
insufficient to establish entitlement to compensation, and no expert reports have been filed.

       Therefore, the only alternative remains to DENY this petition. Thus, this case is
dismissed for insufficient proof. In the absence of a motion for review, the Clerk shall
enter judgment accordingly.

       IT IS SO ORDERED.

                                                     /s/Lisa D. Hamilton-Fieldman
                                                     Lisa D. Hamilton-Fieldman
                                                     Special Master




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